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            EXHIBIT H
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           December 8, 2022


           By Facsimile (without enclosure) and Hand Delivery

           Hon. Ramy I. Djerassi
           Court of Common Pleas of Philadelphia County
           City Hall, Room 591
           Philadelphia, PA 19107

           Re:        Norcross, et al. v. Republic First Bancorp, etal. No. 221102195

           Dear Judge Djerassi:

           This firm represents Plaintiffs George E. Norcross, III, Gregory B. Braca, and Philip A.
           Norcross in the above-captioned action. Plaintiffs sought to coordinate with defendants to
           file a joint letter with each side's position. Lead counsel for defendants had a personal
           commitment this morning and needs additional time to prepare defendants' position.
           Defendants intend to submit their position tomorrow morning. In light of the urgency of this
           matter and the time constraints. Plaintiffs did not want to delay in submitting this letter.

          On December 5, 2022, Plaintiffs filed a Motion for Preliminary Injunction (the "Motion"), a
          courtesy copy of which is enclosed herewith, seeking to enjoin defendants, Republic First
          Bancorp, Inc. (the "Company") and its board of directors (the "Board" or "Individual
          Defendants"), from reducing the number of board seats from eight to six, and rejecting
          Plaintiffs' nomination of Mr. Braca as a director candidate for the upcoming board election
          scheduled to take place on January 26, 2023, among other relief.

          Plaintiffs' motion requested a response date for defendants of December 12, 2022 and a
          hearing scheduled later that week. Plaintiffs delivered the motion to defendants' counsel on
          the day it was filed and spoke with defendants' counsel the next day regarding scheduling.
          Defendants sought additional time to respond to the motion, indicating that they believed
          some targeted discovery was also warranted. Therefore, they proposed responding to the
          motion on the normal 20-day schedule with a hearing the first week in January.

          The Board has scheduled the 2022 annual shareholders' meeting, including the election of
          directors, to occur on January 26, 2023. Both parties recognize that a ruling on the
          preliminary injunction is necessary sufficiently in advance of the January 26, 2023 annual
          shareholders' meeting and director election to allow the parties to prepare and distribute
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proxy solicitation materials to the Company's shareholders advocating for (and seeking
proxies to vote for) their respective candidates to be elected to the Company's board.

By way of background, the 2022 annual shareholders' meeting was originally scheduled to
occur in May 2022. As the Motion explains, the annual meeting was delayed due to various
disputes between the incumbent board members causing the Company's auditors to refuse to
certify the Company's 2021 financial statements until the Company engaged independent
counsel to investigate the various accusations by the board members. The Company
therefore did not file its 2021 annual report on Form 10-K with the Securities Exchange
Commission ("SEC") until late October 2022.

The Company announced on November 4, 2022, that it had scheduled the 2022 annual
meeting and election of directors to occur on January 26, 2023. The Company's board is
divided into three classes of directors, with one class up for election each year at the annual
meeting. The Class III directors are up for election at the 2022 annual meeting. Until
November 4, 2022, there were three Class III director seats that would be the subject of the
election at the 2022 annual shareholders' meeting. On November 7, 2022, the Company
announced that it had reduced the size of the board from eight members to six and that there
would now be only two Class III director seats up for election at the 2022 annual
shareholders' meeting.

The Company also set November 14, 2022, as the deadline for shareholders to submit
nominations for candidates for the Class III director positions. Plaintiffs currently own
collectively, including through a trust of which plaintiff Philip Norcross is a trustee, almost
10% of the issued and outstanding shares of the Company's stock. Since February 2022,
Plaintiffs have publicly reported in SEC filings their share ownership and that they disagree
with the direction of the Company and intended to support alternative candidates for election
to the Board, rather than the incumbent candidates promoted by the defendants.

On November 11, 2022, Plaintiffs submitted their nomination of Mr. Braca as a candidate
for one of the two Class III board seats up for election at the 2022 annual meeting. On
November 16, 2022, defendants rejected Plaintiffs' nomination and advised that the
Company would not include Mr. Braca as a director candidate in its proxy statement to be
distributed to shareholders.

The Motion seeks to preclude the Board from eliminating two board seats in advance of the
2022 annual meeting (and a special shareholder meeting Plaintiffs requested in October to
fill a vacant Class I board seat), require it to reopen nominations for directors and accept
Plaintiffs' nomination(s).

Plaintiffs believe that a hearing on their Motion before the holidays is necessary so that the
Company, Plaintiffs and all of the Company's shareholders will know how many board seats
are up for election at the 2022 annual meeting set for January 26, 2023. Further, if Plaintiffs
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prevail on their Motion, the Company will need to reopen nominations to allow shareholders
to nominate director candidates for the Class III director seat the Board sought to eliminate.
If Defendants must accept Plaintiffs' nomination of Mr. Braca, Plaintiffs will also need time
in advance of the meeting to send proxy materials to and solicit votes from their fellow
shareholders in favor of Mr. Braca (and potentially other director candidates nominated by
Plaintiffs or by other Company shareholders). Plaintiffs' proxy solicitation firm and counsel
estimate that the timing to engage in a meaningful proxy fight is at least four to five weeks,
including the following tasks:

 Action                                                            Timing

 Preparation and Filing of Preliminary Proxy Statement             1 week

 SEC Comment Period                                                10 calendar days

 Responding to any SEC comments                                    1 week

 Filing Definitive Proxy Statement                                 Typically 2-3 weeks after
                                                                   preliminary proxy

 Printing proxy statement                                          1 business day

 Mailing proxy statement to shareholders                           Up to 5 business days

 Direct Engagement with Proxy Advisors (ISS and Glass              4 weeks
 Lewis) and institutional shareholders, and follow-up with
 retail shareholders (including offering additional voting
 opportunities)



Based on the Company's past practice, Plaintiffs believe the Company intends to distribute
proxy materials to shareholders by late December 2022 advocating for the reelection of the
two incumbent Class III directors at the 2022 annual meeting. To allow Plaintiffs to fairly
participate in the proxy contest, we ask the Court to schedule the hearing on Plaintiffs
Motion within the next week to ten days if consistent with the Court's schedule.

Plaintiffs further contend that defendants have sufficient time to respond to the Motion if a
hearing is scheduled in the next week to 10 days and do not need any discovery in advance
of a hearing. Plaintiffs delivered their Complaint to defense counsel on November 22, 2022,
the day it was filed. The Complaint sets out in detail the bases for Plaintiffs' claims,
including citing the key cases Plaintiffs rely on in the Motion. Plaintiffs' counsel spoke with
defense counsel the day the Complaint was filed, and both parties recognized that an
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injunction motion would be needed if the parties did not resolve the matter. Plaintiffs'
counsel agreed not to seek an injunction over the Thanksgiving holiday in light of the fact
that there were still two months remaining before the scheduled 2022 annual shareholders'
meeting. The following week, the parties tried to resolve the matter without burdening the
Court with this Motion but unfortunately were unsuccessful. Nonetheless, defense counsel
was aware of the possible injunction motion and all the grounds for it for two weeks before it
was filed. Further, virtually all of the facts in the Complaint are based on SEC filings by the
parties and letters exchange by the parties. Accordingly, Plaintiffs do not believe there is
any need for defendants to engage in discovery in advance of the hearing.

Finally, without a hearing before the holidays, the relief sought by Plaintiffs, even if
ultimately granted, will not allow them to nominate and solicit proxies for Mr. Braca's
nomination. Plaintiffs and other shareholders will be deprived of their right to meaningfully
vote for their choice of who should be on the board of directors. A delay in the hearing
essentially will allow the Defendants, including an invalid director who was seated in
violation of the Company's bylaws, to succeed in what Plaintiffs have asserted is an
unlawful and improper attempt to entrench the current board members and disenfranchise
Company shareholders by changing the election rules in the midst of a proxy contest.
Where, as here, the allegations are that shareholder voting rights are being denied and the
basic right to nominate has been thwarted, Plaintiffs believe that a response to their motion
and a hearing or argument on that motion should be conducted on an accelerated and
expedited schedule consistent, of course, with the Court's calendar.

Plaintiffs appreciate Your Honor's attention to this matter.




Laura E. Krabill

LEK
Enclosure


cc:    Counsel for defendants (via email):
       Marisa Antonelli
       Michael Charlson
       Neal R. Troum
       George M. Vinci, Jr.
